                                    UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON
In re:                                            )
                                                  )       Case No. 14‐33163‐DWH13
DAVID L UZZLE                                     )
CAROLYN J UZZLE                                   )                TRUSTEE’S SPECIAL NOTICE RE:
                                                  )                SECTION 1328(a) DISCHARGE
                               Debtor(s)          )

         It has come to my attention that you have failed to make all payments to your mortgage servicer as
required by the direct payment paragraph of your Chapter 13 plan and as shown on Schedule 106J as one
of  your  monthly  expenses.      It  is  my  duty  to  inform  you  that  Section  1328(a)  of  the  Bankruptcy  Code
requires that before I may inform the Clerk’s Office that you should be granted a discharge, I must certify
to the Clerk that you have completed all payments under the plan.   The direct payment to the servicer
listed in your Chapter 13 plan is considered to be a payment under the plan.

        In order to correct this issue and allow my office to ultimately inform the Clerk all payments under
the  plan  have  been  made,  you  must  demonstrate  to  my  office  that  you  have  cured  this  default  in  your
plan.  You must do this by the time you finish your regular bankruptcy plan payments.

         Informing  my  office  of  the  reasons  you  failed  to  make  the  missed  payments  cannot  fix  this
problem.  I must have solid proof that the missed payments have in some form been paid to the proper
mortgage  servicer  or  a  viable  amended  plan  sent  to  all  creditors  that  cures  the  default.     Proof that full
payments  of  the  direct  payment  paragraph  of  your  Chapter  13  plan  have  been  made,  would  include  a
statement from your mortgage servicer that those missing payments have been made.   If you fail to do so,
it is possible that you will not receive a discharge at the conclusion of your case.

       I send this Notice to you now in order to give you time to correct this problem with your plan.  It is
my sincere desire that you receive a discharge and I hope this letter will be seen as notice to you and your
attorney that this serious problem must be addressed and addressed quickly.

Dated: January 17, 2019

                                                          /s/ Wayne Godare
                                                          Chapter 13 Trustee

I certify that on January 17, 2019, I mailed copies of the above Notice to the debtor(s) and the debtor’s
attorney, TED A TROUTMAN , if any.
                                                      /s/Stephanie Mayo
                                                      Office of the Chapter 13 Trustee

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